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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF MARYLAND


------------------------------------------------------------------------x
Melissa Hiltz,                                                                     Civil Action No:
                                                                                   1:22-cv-161
                                                 Plaintiff,


        -v.-
Equifax Information Services, LLC;
Experian Information Solutions, Inc.;
TransUnion, LLC; and
Verizon Communications Inc.,

                                             Defendants.
------------------------------------------------------------------------x

                NOTICE OF VOLUNTARY DISMISSAL AS TO TRANS UNION,
                                        LLC
                IT IS HEREBY AGREED TO by the Plaintiff and Plaintiff’s attorney, and the

  Defendant, Trans Union, LLC that whereas no party hereto is an infant, incompetent person

  for whom a committee has been appointed or conservatee, and no person not a party has an

  interest in the subject matter of the action, that the above entitled action specifically with

  regard to Defendant, Trans Union, LLC, shall be and hereby is dismissed with prejudice and

  on the merits, without costs, or disbursements, or attorney’s fees to any party pursuant to Rule

  41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, and that a dismissal with prejudice

  may be entered in the above entitled action pursuant hereto.


 Dated: April 26, 2022                                                      Respectfully Submitted,

                                                                             /s/Eliyahu Babad
                                                                            Eliyahu Babad, Esq.
                                                                            Stein Saks, PLLC
                                                                            One University Plaza
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                                                                             Tel. 201-282-6500
                                                                            Fax 201-282-6501
                                                                             Attorneys for Plaintiff
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                                       Certificate of Service

        I hereby certify that on this date, I electronically filed this Notice of Voluntary Dismissal
using the CM/ECF system which will automatically send email notification of such filing to all
attorneys of record. I also emailed this Notice to all parties who have not made an appearance in
this case.


       This 26th day of April, 2022                   Respectfully Submitted,

                                                      /s/ Eliyahu Babad
                                                      Eliyahu Babad
